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                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA

                                CASE NO. 22-60450-CIV-SMITH

 MARCELIN LIBERAL, individually and on
 behalf of all others similarly situated,

        Plaintiff,
 v.

 HEALTHCARE REVENUE RECOVERY
 GROUP, LLC, et al.,

       Defendants.
 _______________________________________/

       ORDER REQUIRING JOINT SCHEDULING REPORT, CERTIFICATES OF
       INTERESTED PARTIES AND CORPORATE DISCLOSURE STATEMENT

        IT IS ORDERED:

        1. Plaintiff(s) shall provide copies of this Order to all counsel and any unrepresented

 parties. Plaintiff(s) shall ensure compliance with this Order.

        2. By April 22, 2022, the parties shall:

                a. Prepare and file a Joint Scheduling Report, as required by Local Rule 16.1, that

        sets out a proposed case management and discovery plan. The parties shall also file a

        Proposed Scheduling Order, adhering to the format and guidance of the attached form.

        Failure to comply with this Order shall be grounds for dismissal without prejudice without

        further notice. In addition to filing the Proposed Scheduling Order, the parties shall email

        a Word version of the Proposed Scheduling Order to smith@flsd.uscourts.gov.

                b. File Certificates of Interested Parties and Corporate Disclosure Statements.

                c. File the Election to Jurisdiction by a United States Magistrate Judge

        for Final Disposition of Motions form attached hereto and, if applicable, the Election to

        Jurisdiction by a United States Magistrate Judge for Trial form.
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        3. Initial disclosures required under Federal Rule of Civil Procedure 26(a)(1) must be made

 at or before the time the parties confer to develop their case management and discovery plan.

        4. If after receipt of the parties’ Joint Scheduling Report the Court determines that a

 Federal Rule of Civil Procedure 16(b) scheduling and planning conference is necessary, it shall set

 a hearing. The parties should be prepared to argue all motions pending at the time of such hearing.

        5. Notice of Joint Motions: The parties are hereby notified that multiple Plaintiffs or

 Defendants shall file joint dispositive motions, including motions to dismiss and motions for

 summary judgment, with co-parties unless there are clear conflicts of positions or grounds for

 relief. Multiple Plaintiffs or multiple Defendants shall also file joint motions in limine and joint

 Daubert motions.

        DONE AND ORDERED in Fort Lauderdale, Florida this 5th day of April, 2022.




 cc: Counsel of record
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                                   UNITED STATES DISTRICT COURT
                                   SOUTHERN DISTRICT OF FLORIDA

                                      Case No. XX-XXXXX-CIV-SMITH

     PARTY NAME(S),

                               Plaintiff(s),

                      v.

     PARTY NAME(S),

                               Defendant(s).



                             PROPOSED SCHEDULING ORDER SETTING
                           CIVIL TRIAL DATE AND PRETRIAL SCHEDULE

           THIS CAUSE is set for trial during the Court’s two-week trial calendar beginning on

 [mm/dd/yyyy].1 If the case cannot be tried during the two-week period, it will be re-set for each

 successive trial calendar until it is tried or resolved. The Calendar Call will be held at 9:00 a.m. on

 Tuesday, [mm/dd/yyyy].2 The parties shall adhere to the following schedule:

        1. Joinder of any additional parties and filing of motion to amend the
           pleadings by                                                                               [mm/dd/yyyy]

        2. Parties shall select a mediator pursuant to Local Rule 16.2 and shall
           schedule a time, date, and place for mediation by                                          [mm/dd/yyyy]

        3. Motion for Class Certification shall be filed by                                           [mm/dd/yyyy]

        4. Plaintiffs shall disclose experts, expert witness summaries, and
           reports as required by Fed. R. Civ. P. 26(a)(2) by                                         [mm/dd/yyyy]




 1
      In all Expedited Track cases (S.D. Fla. L.R. 16.1(a)(2)(A)) and all actions brought pursuant to the Fair Labor
      Standards Act, Title III of the Americans with Disabilities Act, the Fair Debt Collection Practices Act, or to
      recover amounts due on a defaulted student loan, the Trial shall occur within nine months of the date
      Plaintiff(s) filed the action.
      In all Standard Track cases (S.D. Fla. L.R. 16.1(a)(2)(B)), the Trial shall occur within twelve to eighteen months
      of the date Plaintiff(s) filed the action.
 2
      Tuesday before Trial date.
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     5. Defendant(s) shall disclose experts, expert witness summaries, and
        reports as required by Fed. R. Civ. P. 26(a)(2) by                          [mm/dd/yyyy]

     6. Exchange of rebuttal expert witness summaries and reports as
        required by Fed. R. Civ. P. 26(a)(2) by                                     [mm/dd/yyyy]

     7. Written lists containing the names and addresses of all fact
        witnesses intended to be called at trial by                                 [mm/dd/yyyy]

     8. Fact discovery shall be completed by                                        [mm/dd/yyyy]

     9. Expert discovery shall be completed by                                      [mm/dd/yyyy]

     10. Mediation shall be completed by
         [no more than one month after the close of discovery]                      [mm/dd/yyyy]

     11. Motion to Decertify Class shall be filed by                                [mm/dd/yyyy]

     12. Dispositive motions, including summary judgment and Daubert,
         shall be filed by
         [at least four months before the date for filing the Pretrial              [mm/dd/yyyy]
         Stipulation]

     13. Deposition designations and counter designations shall be filed by         [mm/dd/yyyy]
         [at least two months before Trial date]
         The parties shall meet and confer prior to submitting the deposition
         designations and counter-designations in a good faith effort to resolve
         objections. Failure to comply with deadline and the meet and confer
         may result in objections being stricken or other appropriate sanctions.

     14. All pretrial motions and memoranda of law, including motions in
         limine, shall be filed by
         [at least one month before Trial date]                                     [mm/dd/yyyy]
         Prior to filing any motions in limine, the parties shall meet and confer
         in a good faith effort to resolve any issues. If a party has multiple
         motions in limine, they shall be filed as a single omnibus motion. All
         motions in limine and the responses shall be limited to one page per
         issue. No replies shall be permitted.
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       15. Joint pretrial stipulation, deposition designations and counter-
           designations, proposed joint jury instructions, proposed joint verdict
           form, and/or proposed findings of fact and conclusions of law shall
           be filed by
           [at least one month before Trial date]                                    [mm/dd/yyyy]
           When the parties cannot agree on specific jury instructions, the
           submitted instructions shall clearly indicate which party has
           proposed the specific instruction. The parties shall meet and confer
           prior to submitting the deposition designations and counter-
           designations in a good faith effort to resolve objections.

 By:         [Attorney(s) for Plaintiff(s)]                    [Attorney(s) for Defendant(s)]
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                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA

                                Case No. XX-XXXXX-CIV-SMITH

  PARTY NAME(S),
                          Plaintiff(s),

                 v.

  PARTY NAME(S),
                          Defendant(s).
                                                  /

    ELECTION TO JURISDICTION BY A UNITED STATES MAGISTRATE JUDGE
                  FOR FINAL DISPOSITION OF MOTIONS

        In accordance with the provisions of 28 U.S.C. § 636(c), the undersigned party or parties

 to the above-captioned civil matter hereby voluntarily elect to have a United States Magistrate

 Judge decide the following motions and issue a final order or judgment with respect thereto:

        1.    Motions to Dismiss                         Yes ____          No ____

        2.    Motions for Summary Judgment               Yes ____          No ____

        3.    Motions for Attorneys’ Fees                Yes ____          No ____

        4.    Motions for Costs                          Yes ____          No ____

        5.    Motions for Sanctions                      Yes ____          No ____

        6.    All Pretrial Motions                       Yes ____          No ____

        7.    Discovery                                  Yes ____          No ____

        8.    Other (explain below)                      Yes ____          No ____

              _____________________________________________________________




 By:         [Attorney(s) for Plaintiff(s)]                 [Attorney(s) for Defendant(s)]
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                                  UNITED STATES DISTRICT COURT
                                  SOUTHERN DISTRICT OF FLORIDA

                                    Case No. XX-XXXXX-CIV-SMITH

     PARTY NAME(S),
                              Plaintiff(s),

                     v.

     PARTY NAME(S),
                              Defendant(s).
                                                            /

                                ELECTION TO JURISDICTION BY A
                          UNITED STATES MAGISTRATE JUDGE FOR TRIAL

           In accordance with the provisions of 28 U.S.C. § 636(c), the undersigned party or parties

 to the above-captioned civil matter hereby voluntarily elect to have a United States Magistrate

 Judge conduct any and all further proceedings in this case, including TRIAL, and entry of final

 judgment with respect thereto. *



 By:           [Attorney(s) for Plaintiff(s)]                          [Attorney(s) for Defendant(s)]



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      A Magistrate Judge may conduct jury trials if the underlying claims support a demand for jury. In addition, a
      Magistrate Judge can generally accommodate special settings.
